DONALD J. TRUMP FOR
PRESIDENT, INC.; ef ai.,

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KATHY BOCOCKVAR,; et ai.,

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Civil Action
Plaintiffs,

)
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)
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) No.: 2-20-CV-966
)
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)

Defendants. Judge J. Nicholas Ranjan

AFFIDAVIT OF CHRISTINA L. HAUSNER IN SUPPORT OF MOTION FOR

ADMISSION PRO HAC VICE

I, Christina L. Hausner, make this affidavit in support of the motion for my admission to
appear and practice in this Court in the above-captioned matter as counsel pro hac vice for
Defendant, Lancaster County Board of Elections, in the above-captioned matter pursuant to
LCvR 83.2 and LCvR 83.3, and this Court's Standing Order Regarding Pro Hac Vice
Admissions dated May 31, 2006 (Misc. No. 06-151).

I, Christina L. Hausner, being duly sworn, do hereby depose and say as follows:

1,

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I am the Solicitor for the County of Lancaster, Pennsylvania.
My business address is 150 North Queen Street, Suite #714, Lancaster, PA 17603.

I am a member in good standing of the bars of the Supreme Court of Pennsylvania,
the United States District Court for the Eastern District of Pennsylvania, the United
States District Court for the Middle District of Pennsylvania, the United States
Court of Appeals for the Third Circuit, and the United States Court of Appeals for
the Ninth Circuit.

My Pennsylvania bar identification number is 32373.

On July 8, 2020, I applied for and am awaiting a current certificate of good
standing from the Supreme Court of Pennsylvania which I will provide to
supplement this affidavit once it is received.

I attest that I have not been the subject of any previous disciplinary proceedings
concerning my practice of law that resulted in a non-confidential negative
finding or sanction by the disciplinary authority of the bar of any state or any
United States court. ,

1 attest that I am a registered user of ECF in the United States District Court for

 

 

 

 
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the Western District of Pennsylvania.

8, I attest that I have read, know and understand the Local Rules of Court for the
United States District Court for the Western District of Pennsylvania.

9. Based upon the foregoing, I respectfully request that ] be granted pro hac vice
admission for the purpose of representing Defendant Lancaster County Board
of Elections in the above-captioned matter.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.

Dated: July 13, 2020 /Christina L. Hausner/
Christina L. Hausner

 
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CERTIFICATE OF SERVICE
I hereby certify that on this day, a true and correct copy of the foregoing document was filed
electronically. Notice of this filing will be sent to all registered parties by operation of the Court’s

electronic filing system.

Respectfully submitted,
By/Christina L. Hausner/

Christina L. Hausner, Bar ID No. 32373
Motion for admission pro hac vice pending
Lancaster County Solicitor

150 North Queen Street, Suite #714
Lancaster, PA 17603

Tel: 717-735-1584
CHausner@co.lancaster.pa.us

Date: July 13, 2020 Attorney for Lancaster County Board of
Elections

 
